Case 4:17-cv-00454-GKF-JFJ Document 165 Filed in USDC ND/OK on 10/12/18         Page 1 of
                                      24
                 CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                       SUBJECT TO PROTECTIVE ORDER
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,       )
                                           )
                                           )
             Plaintiff,                    )
                                           )
 v.                                        )   Case No. 4:17-cv-00454-GKF-jfj
                                           )
 1) CASTLE HILL STUDIOS LLC                )   REDACTED
    (d/b/a CASTLE HILL GAMING);            )
 2) CASTLE HILL HOLDING LLC                )
    (d/b/a CASTLE HILL GAMING); and        )
 3) IRONWORKS DEVELOPMENT, LLC             )
    (d/b/a CASTLE HILL GAMING)             )
                                           )
             Defendants.                   )


      PLAINTIFF VIDEO GAMING TECHNOLOGIES, INC.’S MOTION TO EXCLUDE
      THE TESTIMONY OF ROBERT ZEIDMAN IN PART AND SUPPORTING BRIEF
Case 4:17-cv-00454-GKF-JFJ         Document 165 Filed in USDC ND/OK on 10/12/18                                                     Page 2 of
                                              24
                         CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                               SUBJECT TO PROTECTIVE ORDER
                                                 TABLE OF CONTENTS

   I.     INTRODUCTION .............................................................................................................. 1

   II.    BACKGROUND ................................................................................................................ 2

          A.        VGT’s Trade Secret Claims. ................................................................................... 3

          B.        The Parties’ Experts on Trade Secret and Confidential Information Issues. .......... 5

   III.   LEGAL STANDARD......................................................................................................... 7

   IV.    ARGUMENT ...................................................................................................................... 7

          A.        Mr. Zeidman’s Opinion Regarding Source Code Copying Is Non-
                    Responsive, Irrelevant, and Substantially Prejudicial to VGT. .............................. 7

          B.        Mr. Zeidman’s Opinions on Casino Game Design and the Gaming
                    Industry Should Be Stricken. ................................................................................ 10

                    1.         Mr. Zeidman Is Not Qualified to Offer Opinions on Casino
                               Gaming...................................................................................................... 11

                    2.         Mr. Zeidman’s Gaming-Specific Opinions Are Not Reliable. ................. 15

          C.        Mr. Zeidman’s Reference to                         Should Be Stricken
                    As Irrelevant and an Attempt to Unduly Prejudice the Jury. ................................ 17

   V.     CONCLUSION ................................................................................................................. 18




                                                                    ii
Case 4:17-cv-00454-GKF-JFJ           Document 165 Filed in USDC ND/OK on 10/12/18                                                   Page 3 of
                                                24
                           CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                                 SUBJECT TO PROTECTIVE ORDER
                                                  TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

   Cases

   103 Investors I, L.P. v. Square D Co.,
      372 F.3d 1213 (10th Cir. 2004) .................................................................................................8

   Alfred v. Caterpillar, Inc.,
       262 F.3d 1083 (10th Cir. 2001) ...........................................................................................9, 11

   Basanti v. United States,
      666 F. App’x 730 (10th Cir. 2016) ..........................................................................................12

   Daubert v. Merrell Dow Pharms., Inc.,
      509 U.S. 579 (1993) ...................................................................................................................7

   Ho v. Michelin N. Am., Inc.,
      520 F. App’x 658 (10th Cir. 2013) ..........................................................................................12

   Mike’s Train House, Inc. v. Lionel, L.L.C.,
      472 F.3d 398 (6th Cir. 2006) .............................................................................................15, 16

   Solid Gold Casino Hotel & Resort of Tunica v. Miles,
       No. 02-2863 B/An, 2004 WL 5499007 (W.D. Tenn. Dec. 14, 2004) .....................................12

   Theoharis v. Rongen,
      No. C13-1345RAJ, 2014 WL 3563386 (W.D. Wash. July 18, 2014) .......................................8

   United States v. Frazier,
      387 F.3d 1244 (11th Cir. 2004) ...........................................................................................9, 10

   United States v. Gabaldon,
      389 F.3d 1090 (10th Cir. 2004) .................................................................................................7

   United States v. Henderson,
      564 F. App’x 352 (10th Cir. 2014) ............................................................................................8

   United States v. Medina-Copete,
      757 F.3d 1092 (10th Cir. 2014) .........................................................................................11, 15

   Statutes

   Indian Gaming Regulatory Act, 25 U.S.C. § 2701 et seq. ...............................................................2

   Other Authorities

   Fed. R. Civ. P. 26(a)(2)(D)(ii) .........................................................................................................8

                                                                       iii
Case 4:17-cv-00454-GKF-JFJ           Document 165 Filed in USDC ND/OK on 10/12/18                                                       Page 4 of
                                                24
                           CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                                 SUBJECT TO PROTECTIVE ORDER
   Fed. R. Evid. 401 .........................................................................................................................7, 9

   Fed. R. Evid. 402 .........................................................................................................................7, 9

   Fed. R. Evid. 403 .........................................................................................................................7, 9

   Fed. R. Evid. 702 .................................................................................................................7, 11, 15




                                                                         iv
Case 4:17-cv-00454-GKF-JFJ     Document 165 Filed in USDC ND/OK on 10/12/18                    Page 5 of
                                          24
                     CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                           SUBJECT TO PROTECTIVE ORDER
   I.     INTRODUCTION

          Plaintiff Video Gaming Technologies, Inc. (“VGT”) moves to exclude testimony of

   Robert Zeidman, who purports to provide, on behalf of Defendants (collectively, “CHG”),

   rebuttal opinions relating to VGT’s claims for misappropriation of its trade secrets and

   confidential information.

          Early in this case, CHG retained Mr. Zeidman to analyze whether CHG’s source code is

   copied from VGT’s source code. Mr. Zeidman specializes in this type of analysis, which he

   often undertakes with use of a software tool he created. In this case, much of Mr. Zeidman’s

   rebuttal report explains his software tool and his use of that tool to analyze whether CHG copied

   VGT’s source code.

          Mr. Zeidman should be precluded from testifying about his source code copying analysis

   because it has nothing to do with the trial in this case.

                                                                            Rather, VGT’s claim is

   that CHG misappropriated, inter alia, proprietary functionality related to VGT’s bingo-based

   electronic gaming machines (“EGMs”). Although such functionality may be reflected in VGT’s

   source code, it can be misappropriated in different ways without copying the source code, as Mr.

   Zeidman admits: “[T]rade secret theft can also involve copying a method for accomplishing

   some function without copying the actual source code that implements that function.” Ex. A at

   253. Because Mr. Zeidman’s software tool looks only for low-level copying of code, it does not

   and cannot rebut the opinions of VGT’s expert that CHG has misappropriated trade secret

   functionality that does not depend on specific source code.

          Aware of the shortcomings of Mr. Zeidman’s code copying analysis, CHG also asked

   him to address the actual trade secrets and confidential information that are the subject of VGT’s

   expert report. All these trade secrets and confidential information are specific to casino gaming.
Case 4:17-cv-00454-GKF-JFJ    Document 165 Filed in USDC ND/OK on 10/12/18                      Page 6 of
                                         24
                    CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                          SUBJECT TO PROTECTIVE ORDER
   But Mr. Zeidman has no experience or other expertise in the gaming industry—let alone the

   Class II bingo-based games offered by VGT and CHG. And his general software expertise does

   not qualify him to respond to VGT’s expert—a professional casino game designer with nearly

   two decades of experience in the industry—on issues such as development of casino games, what

   is known regarding the design and functionality of such games, and the types of information

   valuable to gaming companies.

          Lacking the requisite expertise, Mr. Zeidman relies on Internet searches and misguided

   attempts to turn Mr. Friedman’s report against itself. But he brings no insight to these issues

   because he is not an expert in this area, and

                                                               Ex. C, Zeidman Dep. Tr. 100:9–14.

   As a result, he offers opinions that contradict CHG witness testimony, and he makes other errors,

   including failing to understand how CHG’s games function and focusing on differences lacking

   meaningful distinction.

          CHG’s attempt to bootstrap casino gaming opinions through its source code copying

   expert should be rejected. Because Mr. Zeidman does not have the requisite experience, his

   gaming-related opinions are unqualified and unreliable.

   II.    BACKGROUND

          VGT is the leading developer, manufacturer, and distributor of Class II bingo-based

   systems in North America, including in Oklahoma, one of the largest Class II markets in the

   United States.1 A few years ago, longtime VGT officials left to start a new gaming company,




   1
    The Indian Gaming Regulatory Act, 25 U.S.C. § 2701 et seq., which regulates gaming on
   Native American land, establishes three classes of games, each with a different regulatory
   scheme. The Class II games at issue here include games of chance based on bingo, in contrast to
   Class III gaming often associated with casinos in Las Vegas.

                                                    2
Case 4:17-cv-00454-GKF-JFJ     Document 165 Filed in USDC ND/OK on 10/12/18                         Page 7 of
                                          24
                     CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                           SUBJECT TO PROTECTIVE ORDER
   CHG, where they hired other VGT employees and began marketing and selling games, including

   in Oklahoma, that bear unmistakable similarities—in both appearance and gameplay—to VGT’s

   most popular games.

          The present motion primarily concerns VGT’s claims for misappropriation of trade

   secrets and confidential information that VGT developed over years of creating and refining its

   Class II systems and games.

          A.      VGT’s Trade Secret Claims.

          As CHG’s own documents acknowledge,



                                                                                             Like

   traditional (i.e., Class III) slot machines, the Class II games at issue in this case include a player-

   facing device (often called an “electronic gaming machine,” “EGM,” or “player terminal”) that

   accepts wagers from players, displays the outcome of the games, and provides winnings

   (generally in the form of tickets that can be redeemed for cash). But unlike traditional slot

   machines—where the player typically wins or loses based on the outcome of spinning reels on

   that player’s EGM—the outcome of VGT’s games is determined by a live bingo game involving

   EGMs throughout the casino (and, in some cases, multiple casinos) and one or more servers,

   which coordinate the bingo game among participants (e.g., assigning bingo cards to EGMs and

   calling balls). On each wager, a VGT player receives a bingo card, which is evaluated against

   the called balls to determine if the player has achieved any of a number of winning bingo

   patterns. The EGM translates all winning and losing outcomes into spins of the reels—e.g., one

   winning bingo pattern might result in three cherries on the reels. When a player achieves the

   game-ending pattern, the bingo game terminates.



                                                      3
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 8 of
                                        24
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 9 of
                                        24
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 10
                                       of 24
Case 4:17-cv-00454-GKF-JFJ    Document 165 Filed in USDC ND/OK on 10/12/18                         Page 11
                                        of 24
                    CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                          SUBJECT TO PROTECTIVE ORDER




  III.   LEGAL STANDARD

         An expert witness’s testimony must contain an opinion based on the witness’s “scientific,

  technical, or other specialized knowledge.” Fed. R. Evid. 702. Specifically, the testimony must

  be given by a witness who has first been “qualified as an expert by knowledge, skill, experience,

  training, or education,” and the testimony must be “the product of reliable principles and

  methods.” Id. This rule “imposes on the district court a gatekeeper function to ‘ensure that any

  and all scientific testimony or evidence admitted is not only relevant, but reliable.’” United

  States v. Gabaldon, 389 F.3d 1090, 1098 (10th Cir. 2004) (quoting Daubert v. Merrell Dow

  Pharms., Inc., 509 U.S. 579, 589 (1993)). Moreover, all testimony must be relevant—tending to

  make a fact of consequence more or less probable, Fed. R. Evid. 401, 402—and must not be

  substantially more prejudicial than probative, Fed. R. Evid. 403.

  IV.    ARGUMENT

         Much of Mr. Zeidman’s testimony should be excluded because (1) his source code

  copying analysis is non-responsive to Mr. Friedman’s Opening Report, irrelevant, and

  substantially more prejudicial than probative; (2) he is not qualified to render opinions on

  gaming-specific issues, and those opinions are unreliable; and (3) his reference to

              is irrelevant and prejudicial.

         A.       Mr. Zeidman’s Opinion Regarding Source Code Copying Is Non-Responsive,
                  Irrelevant, and Substantially Prejudicial to VGT.

         Mr. Zeidman’s opinions and analysis regarding source code copying (¶¶ 14–36 and 120–

  35), should be stricken for at least three reasons.




                                                    7
Case 4:17-cv-00454-GKF-JFJ      Document 165 Filed in USDC ND/OK on 10/12/18                        Page 12
                                          of 24
                      CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                            SUBJECT TO PROTECTIVE ORDER
          First, this opinion is not proper rebuttal. A rebuttal expert report must “attempt[] to

  disprove or contradict the evidence to which it is contrasted.” United States v. Henderson, 564 F.

  App’x 352, 365 (10th Cir. 2014) (emphasis added; internal quotation marks omitted); see also

  Fed. R. Civ. P. 26(a)(2)(D)(ii) (rebuttal testimony permitted if it “is intended solely to contradict

  or rebut” other expert testimony). The rebuttal report must “fairly meet[] the initial proof.”

  Henderson, 564 F. App’x at 365 (internal quotation mark omitted); see also 103 Investors I, L.P.

  v. Square D Co., 372 F.3d 1213, 1218 (10th Cir. 2004) (overturning exclusion of rebuttal expert

  report because “its main thrust was to rebut” and it “did not espouse a new theory”). For

  example, one court found that expert testimony addressing the consequences of the plaintiff’s

  continued illicit drug use was not proper rebuttal because the expert to which it responded had

  not addressed this issue in coming to conclusions about the plaintiff’s post-traumatic stress

  disorder. See Theoharis v. Rongen, No. C13-1345RAJ, 2014 WL 3563386, at *5 (W.D. Wash.

  July 18, 2014).

          Here, Mr. Zeidman admits that

                 Ex. E, Zeidman Rpt. ¶ 120. Therefore, Mr. Zeidman’s opinion about source code

  copying does not “attempt[] to disprove or contradict the evidence” proffered by Mr. Friedman.

  Henderson, 564 F. App’x at 365 (emphasis added). Mr. Zeidman’s opinion on source code

  copying could have been authored without reading Mr. Friedman’s report, or even knowing that

  Mr. Friedman wrote a report. Because Mr. Zeidman’s source code copying opinion addresses an

  issue not raised by Mr. Friedman’s report, it should be excluded as improper rebuttal. See

  Theoharis, 2014 WL 3563386, at *5 (“Dr. Saxon offered no opinion on any preexisting or

  unrelated mental health conditions, and Dr. Vandenbelt’s attempt to do so is not proper

  rebuttal.”).



                                                    8
Case 4:17-cv-00454-GKF-JFJ      Document 165 Filed in USDC ND/OK on 10/12/18                         Page 13
                                          of 24
                      CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                            SUBJECT TO PROTECTIVE ORDER
          Second, Mr. Zeidman’s opinion is irrelevant to the claims and defenses that will be

  presented at trial. For testimony to be relevant, it must make a fact that is of consequence in that

  case more or less probable. See Fed. R. Evid. 401, 402; Alfred v. Caterpillar, Inc., 262 F.3d

  1083, 1088 (10th Cir. 2001) (expert’s testimony relevant because “although it [was] not

  dispositive and might be countered by conflicting testimony, it could allow the jury to infer” a

  fact in dispute).



                                                             This situation is unlike the expert’s

  testimony in Alfred, which, if believed by the jury, would advance a party’s case




                                  See Ex. A at 253. Therefore, this opinion should be excluded as

  irrelevant.

          Third, and finally, Mr. Zeidman’s opinion on source code copying should be excluded

  because its prejudice to VGT will far exceed its benefit to CHG. “The court may exclude

  relevant evidence if its probative value is substantially outweighed by a danger of . . . unfair

  prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

  presenting cumulative evidence.” Fed. R. Evid. 403. Expert evidence in particular can have a

  “powerful and potentially misleading effect” on jurors. United States v. Frazier, 387 F.3d 1244,

  1263 (11th Cir. 2004). For this reason, “sometimes expert opinions that otherwise meet the

  admissibility requirements may still be excluded by applying Rule 403.” Id.; see also id.

  (“Simply put, expert testimony may be assigned talismanic significance in the eyes of lay jurors,




                                                    9
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 14
                                       of 24
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 15
                                       of 24
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18                      Page 16
                                       of 24
                   CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                         SUBJECT TO PROTECTIVE ORDER
  with engineering standards was not qualified to opine on related “human factors” because expert

  admitted “there are specialists in human factors and that he is not one” and expert had no prior

  experience evaluating specific machine at issue).3

         For example, in Washington v. Kellwood, a certified public accountant with “extensive

  experience in the field of business valuations” was qualified to opine on an enterprise’s value,

  but not on “what efforts at marketing and promoting would be reasonable and whether [the

  defendant] met those standards,” because he had no expertise in that industry-specific area. 105

  F. Supp. 3d 293, 309–10 (S.D.N.Y. 2015). “Deeming [the expert in Washington] qualified as a

  valuator d[id] not provide [him] with carte blanche to opine on every issue in the case.” Id. (last

  alteration in original; internal quotation marks omitted).

         Similarly, in a case involving the gaming industry, a court excluded proffered expert

  testimony from two witnesses for failing to “identify any type of prior experience, training or

  knowledge that would normally be expected for one who seeks to render opinions regarding

  projected revenue for a start-up casino.” Solid Gold Casino Hotel & Resort of Tunica v. Miles,

  No. 02-2863 B/An, 2004 WL 5499007, at *3 (W.D. Tenn. Dec. 14, 2004).

         Here, Mr. Zeidman admits that he does not                                          Ex. C,

  Zeidman Dep. Tr. 8:5–6.

            See id. at 11:20–22, 12:17–19, 15:12–14.

                                                                                            See Ex.



  3
   See also Basanti v. United States, 666 F. App’x 730, 733–34 (10th Cir. 2016) (affirming
  exclusion of doctor’s testimony that providing earlier language-interpretation services to non-
  native English speaker would have resulted in earlier diagnosis because doctor was not
  experienced in diagnosing patient’s condition); Ho v. Michelin N. Am., Inc., 520 F. App’x 658,
  665 (10th Cir. 2013) (affirming exclusion of expert testimony because proponent “failed to
  explain how [the expert’s] general experience in the tire industry qualified him to opine on
  design issues”).

                                                   12
Case 4:17-cv-00454-GKF-JFJ      Document 165 Filed in USDC ND/OK on 10/12/18                        Page 17
                                          of 24
                      CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                            SUBJECT TO PROTECTIVE ORDER
  E, Zeidman Rpt. ¶¶ 3–12, Exh. A.

                                                     See Ex. C, Zeidman Dep. Tr. 12:12–14:19

                                                                                                        ;

  id. at 16:22–17:7                                                                          ; id. at

  23:11–15                                                                              .4

           Such expertise is required to offer the gaming-specific opinions in his report, including

  what is known in the industry, what is valuable to a Class II company, and how Class II games

  operate.

                               See Ex. B at CHG0015314




                                                                                               See Ex.

  F, Roireau 30(b)(6) Dep. Tr. 121:19–21

                                                     ; Ex. G, Roireau 5/15/2018 Dep. Tr. 161:6–

  162:3

                                                                             .

           For example, Mr. Zeidman opines that

                                                                                 Ex. E, Zeidman Rpt.

  ¶¶ 50, 56–57, 60. But to form such an opinion, an expert would need to be familiar with the

  methods for                           or at least methods that could be used. In his deposition,

  however, Mr. Zeidman was unable to

                                                        Ex. C, Zeidman Dep. Tr. 200:5–18; see also


  4
      See supra note 2.

                                                   13
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 18
                                       of 24
Case 4:17-cv-00454-GKF-JFJ      Document 165 Filed in USDC ND/OK on 10/12/18                    Page 19
                                          of 24
                      CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                            SUBJECT TO PROTECTIVE ORDER
  industry to analyze whether industry-specific functionality reflects something new or valuable

  in that industry.

         Because Mr. Zeidman lacks experience with casino gaming, he should not be permitted

  to express opinions as to the casino gaming trade secrets and confidential information at issue

  in this case. See Medina-Copete, 757 F.3d at 1102–03, 1105 (finding witness not qualified to

  opine on connection between religious iconography and crime, despite being an expert in

  religious iconography, because of lack of expertise in connecting the two).

                 2.       Mr. Zeidman’s Gaming-Specific Opinions Are Not Reliable.

         Mr. Zeidman’s gaming-specific testimony should also be stricken because it is not “the

  product of reliable principles and methods.” Fed. R. Evid. 702. It is especially important for

  experts to have “insight into th[e] industry” when analyzing potential trade secret

  misappropriation. Mike’s Train House, Inc. v. Lionel, L.L.C., 472 F.3d 398, 408 (6th Cir. 2006).

  In Mike’s Train House, an expert attempted to assess whether one Korean model-train

  manufacturer had copied design drawings from another. Id. Because the expert was not familiar

  with the Korean model-train design industry, he mistakenly counted similarities between the

  designs that were standard in the industry (e.g., using the number 2600 to identify the train’s

  boiler) as signs of copying. Id. The court found that the expert’s “methodology d[id] not reflect

  the realities of the Korean design industry, and thus c[ould not] be relied upon.” Id.

         Like Mike’s Train House, where the expert’s lack of familiarity with a specific industry

  led him to draw faulty conclusions of trade secret misappropriation from his copying analysis,

  Mr. Zeidman performed a trade secret misappropriation analysis without possessing expert-level

  understanding of the relevant industry.

                                                       Ex. C, Zeidman Dep. Tr. 100:9–14. This



                                                  15
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 20
                                       of 24
Case 4:17-cv-00454-GKF-JFJ    Document 165 Filed in USDC ND/OK on 10/12/18                      Page 21
                                        of 24
                    CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                          SUBJECT TO PROTECTIVE ORDER
  ¶ 61



                                                    ; id. ¶ 75



                                               .

         Furthermore, many of Mr. Zeidman’s opinions on what is generally known are apparently



                See, e.g., id. ¶¶ 51–54, Exs. D–G (reproducing Internet pages that mention

                               ); id. ¶¶ 66–67, Exs. P–Q (reproducing Internet pages describing

                and Class II gaming regulations). Even though none of the webpages he found

  discloses the trade secrets and confidential information at issue, he opines that



           E.g., id. ¶ 50. Notably, his opinions

                                                                          . See, e.g., Ex. H, Suggs

  Dep. Tr. 85:18–21                                                                             .

         In short, lacking any knowledge of the industry, Mr. Zeidman has no reliable basis for

  attempting to bridge the gap between the webpages he found and the VGT trade secrets at issue.

         C.       Mr. Zeidman’s Reference to                         Should Be Stricken As
                  Irrelevant and an Attempt to Unduly Prejudice the Jury.

         Paragraph 92 of Mr. Zeidman’s report speculates that



              This speculation has nothing to do with any of the trade secret or confidential

  information claims in the case—indeed, the




                                                   17
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18   Page 22
                                       of 24
Case 4:17-cv-00454-GKF-JFJ Document 165 Filed in USDC ND/OK on 10/12/18         Page 23
                                     of 24
                 CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                       SUBJECT TO PROTECTIVE ORDER
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                                        19
Case 4:17-cv-00454-GKF-JFJ   Document 165 Filed in USDC ND/OK on 10/12/18                    Page 24
                                       of 24
                   CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                         SUBJECT TO PROTECTIVE ORDER
                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2018, I filed the foregoing Plaintiff Video Gaming

  Technologies, Inc.’s Motion to Exclude the Testimony of Robert Zeidman in Part and

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